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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT ILLINOIS
                                   EASTERN DIVISION




   AMANDA BENGOECHEA, RACHEL
   BERKOWITZ, SHANTEL HASH,
   REBEKKA LIEN, DIANA LOPEZ,
   SHAINTIEL POOLE, JULLY ROMERO, and
   JENNIFER SIMONI, individually and on
   behalf of all those similarly situated,

            Plaintiffs,                                 Case No.: 1:25-cv-1402

   v.

   ROADGET BUSINESS PTE. LTD d/b/a
   SHEIN, SHEIN US SERVICES. LLC., SHEIN
   DISTRIBUTION CORPORATION, BIANCA                     JURY TRIAL DEMANDED
   ANASTASIA ARCORI, ABBY BAGLEY,
   MANUELA BRIT, TALA GOLZAR,
   ANASTASIA KARANIKOLAOU, CYDNEY
   MOREAU, and CINDY PRADO,

                   Defendants.

   ________________________________



                                 CLASS ACTION COMPLAINT


         Plaintiffs, AMANDA BENGOECHEA, RACHEL BERKOWITZ, SHANTEL HASH,

REBEKKA LIEN, DIANA LOPEZ, SHAINTIEL POOLE, JULLY ROMERO, and JENNIFER

SIMONI (collectively “Plaintiffs”), on behalf of themselves and all those similarly situated, bring

this Class Action Complaint against ROADGET BUSINESS PTE. LTD d/b/a SHEIN, SHEIN US

SERVICES LLC, SHEIN DISTRIBUTION CORPORATION, BIANCA ANASTASIA

ARCORI,      ABBY         BAGLEY,   MANUELA          BRIT,   TALA     GOLZAR,       ANASTASIA

KARANIKOLAOU, CYDNEY MOREAU, and CINDY PRADO alleging as follows:




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                                           INTRODUCTION

       1.      With millions of users all over the United States, in the last ten years, social media

became the place to be. Due to mostly unregulated activity, it quickly grabbed the attention of

those perpetrating “get rich quick” scams and other illegal behavior.

       2.      Back in 2017, thousands of miles apart, two “entrepreneurs” realized that they can

defeat the laws and harness the power of undisclosed advertising on Instagram.

       3.      Billy McFarland paid hundreds of social media influencers and celebrities in order

to promote a scam known as the Fyre Festival. The influencers made it look like they endorsed the

festival and posted an orange square while mentioning the festival in the caption and tagging it in

their social media post. None of these influencers mentioned the material connections they had

with McFarland or Fyre. It was probably the first major scam on Instagram that involved

undisclosed endorsements.

       4.      At the same time, Xu Xi (a/k/a Chris Xu, Shy Xu, and Xu Yangtian), entered the

U.S. Market with the same idea. SHEIN, his company, will make a fortune online by paying

hundreds of Instagram influencers to pretend they like SHEIN.

       5.      While McFarland ended up in federal prison, SHEIN became a multi-billion dollar

company, surpassing H&M, Zara, and other major retailers with hundreds brick-and-mortar stores

in the U.S.

       6.      Shein’s customer base and sales have exploded since early 2020 and it is comprised

mainly of social media users. Shein’s global annual revenue is estimated to have grown from

around $3 billion in 2019 to around $30 billion in 2022, with approximately $9.6 billion in the

United States in 2022. In the first half of 2022, Shein’s mobile app was the most downloaded

shopping app in the U.S., eclipsing Amazon, with approximately 22.4 million downloads during

those six months.




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          7.    How is it possible that a Chinese company, with no fashion designers or

background, selling flea-market quality clothes, became a giant in the fast-fashion industry in the

U.S.? The answer is simple: undisclosed endorsements on social media. Without having the

chance to try the clothes, millions of consumers, including the class representatives and class

members, relied exclusively on the advice of social media influencers. They were duped into

purchasing clothes, makeup, and home furnishings from SHEIN and their brands. Invariably they

paid much more than the market value for these products.

          8.    This action is arising from the deceptive, unfair and misleading promotion of

SHEIN products in the states of Illinois, California, Pennsylvania and throughout the United

States.

          9.    This is a nationwide class action seeking monetary damages, restitution, injunctive

and declaratory relief from Defendants ROADGET BUSINESS PTE. LTD d/b/a SHEIN, SHEIN

US SERVICES, SHEIN DISTRIBUTION CORPORATION (collectively “SHEIN”), and so-

called “Influencers” illegally promoting SHEIN products on social media: BIANCA

ANASTASIA ARCORI, ABBY BAGLEY, MANUELA BRIT, TALA GOLZAR, ANASTASIA

KARANIKOLAOU, CYDNEY MOREAU and CINDY PRADO (together “Influencers”).

          10.   During the Class Period (defined below), the Influencers misrepresented the

material connection they have with SHEIN by endorsing SHEIN products without disclosing the

fact that they were paid to do it, a practice that is highly unfair and deceptive.

          11.   Relying on the undisclosed endorsements and misleading advertising, Plaintiffs and

the Class Members (defined below) purchased SHEIN products and paid a premium, while the

SHEIN products proved to be of a much lower value than the price paid.

          12.   SHEIN and the Influencers are involved in deceptive, unfair and misleading

practices by endorsing and promoting SHEIN products on social media without disclosing the

material relationship between the SHEIN brand and the “Influencers.” Such practice is highly

unfair and deceptive.

          13.   SHIEN products are sold exclusively online, with many of their customers during




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the class period being social media users exposed to the undisclosed advertising.

       14.     In in order to artificially inflate the prices for the SHEIN products, both SHEIN and

the Influencers devised a scheme in which the Influencers will endorse SHEIN products by tagging

or recommending such products, pretending they are disinterested consumers.

       15.     Relying on the undisclosed endorsements and the misleading advertising, Plaintiffs

and the Class Members (defined below) purchased SHEIN products and paid a premium, while

the SHEIN products purchased proved to be of a much lower value than the price paid.

                                    JURISDICTION AND VENUE

       16.     This is a national class action, including every purchaser of SHEIN Products in

the United States.

       17.     SHEIN’s revenue will reach $50 billion this year, a good part of which can be

directly attributed to the undisclosed advertising on social media, therefore the estimated damages

in this case are of at least US$ 500,000,000.

       18.     The National Class is comprised of at least one million people who purchased

SHEIN products during the Class Period.

       19.     This Court has jurisdiction over this matter under the Class Action Fairness Act, 28

U.S.C. § 1332(d), because this is a proposed class action in which: 1) there are at least 100 class

members; 2) the combined claims of Class Members exceed $5,000,000, exclusive of interest,

attorneys’ fees, and costs; and 3) Defendants and Class Members are citizens of different states.

       20.     The Court also has jurisdiction pursuant to 28 U.S.C. § 1367 over the Plaintiffs’

related state law claims.

       21.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2). The Defendants are alleged to

perpetrate their illegal conduct in Cook County, Illinois. At least one plaintiff resides in Cook

County, Illinois.

                                     NATURE OF THE ACTION

       22.     Plaintiffs, Amanda Bengoechea, Jennifer Simoni, Jully Romero, Rebekka Lien,

Rachel Berkowitz, Shantiel Poole, Shantel Hash, and Diana Lopez, on behalf of themselves and




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all those similarly situated Class Members, seek damages, declaratory judgment, permanent

injunctive relief, disgorgement of ill-gotten monies, attorney’s fees and costs, and other relief from

Defendants Roadget Business Pte. Ltd d/b/a SHEIN, Shein US Services LLC, Shein Distribution

Corporation, Bianca Anastasia Arcori, Abby Bagley, Manuela Brit, Tala Golzar, Anastasia

Karanikolaou, Cydney Moreau, and Cindy Prado, for unjust enrichment, fraud, negligent

misrepresentation, violations of the FTC Act, 15 U.S.C. § 45(a), and, therefore, violations of the

state laws, violation of Illinois Uniform Deceptive Trade Practices Act, violation of Pennsylvania

Unfair Trade Practices and Consumer Protection Law, violation of California Unfair Competition

Law, violation of California False Advertising Law, violations of California’s Consumers Legal

Remedies Act.

                                              THE PARTIES

       23.      Plaintiff, AMANDA BENGOECHEA (“Bengoechea”), is a citizen of California

who resides in Placer County, CA and is otherwise sui juris.

       24.      Plaintiff, RACHEL BERKOWITZ (“Berkowitz”), is a citizen of California who

resides in Los Angeles County, CA and is otherwise sui juris.

       25.      Plaintiff, SHANTEL HASH (“Hash”), is a citizen of Pennsylvania who resides in

York County, PA and is otherwise sui juris.

       26.      Plaintiff, REBEKKA LIEN (“Lien”), is a citizen of California who resides in Los

Angeles County, CA and is otherwise sui juris.

       27.      Plaintiff, DIANA LOPEZ (“Lopez”), is a citizen of California who resides in Glenn

County, CA and is otherwise sui juris.

       28.      Plaintiff, SHANTIEL POOLE (“Poole”), is a citizen of California who resides in

Contra Costa County, CA and is otherwise sui juris.

       29.      Plaintiff, JULLY ROMERO (“Romero”), is a citizen of California who resides in

Los Angeles County, CA and is otherwise sui juris.

       30.      Plaintiff, JENNIFER SIMONI (“Simoni”), is a citizen of Illinois who resides in

Cook County, IL and is otherwise sui juris.




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       31.     Plaintiffs bring this action on their behalf and on behalf of all other persons

similarly situated class members.

       32.     Defendant ROADGET BUSINESS PTE. Ltd d/b/a SHEIN (“SHEIN”), is a

company registered in Singapore doing business worldwide and in the United States. SHEIN

operates its entire US marketing program, as well as its US compliance program from California.

SHEIN owns the website https://us.shein.com, the corresponding mobile application, and the

@shein_us,     @sheinofficial,      @sheglam_official,     @muserastore,      @romwe,      @luvlette,

@cuccoofootwear,         @       glowmode_official,        @sheglam_official,        @motf_official,

@emeryrose.official, @ jnsq__official Instagram accounts.

       33.     Defendant SHEIN US SERVICES, LLC., (“SHEIN US”), is a company formed in

Delaware, with its principal address at 777 S. Alameda St. 2nd Floor, Los Angeles, CA 90021.

SHEIN US is doing business in Illinois, California and throughout the United States.

       34.     Defendant     SHEIN      DISTRIBUTION          CORPORATION          LLC.,     (“SHEIN

DISTRIBUTION”), is a company registered incorporated in Delaware, with its principal address

at 777 S. Alameda St. 2nd Floor, Los Angeles, CA 90021. DISTRIBUTION is doing business is

doing business in Illinois, California and throughout the United States as an affiliate and licensee

of Roadget Business Pte. Ltd.

       35.     SHEIN entities are transacting business in California, Pennsylvania, Illinois,

Virginia, the District of Columbia, and nationwide over the internet and actively soliciting business

in California, Pennsylvania, Illinois, Virginia, the District of Columbia, and nationwide.

      36.      Discovery will reveal the precise responsibilities and roles of each of the SHEIN

entities in connection with the allegations in the Complaint, but a substantial part of the conduct

has occurred in the United States.

      37.      Defendant BIANCA ANASTASIA ARCORI, (“Arcori”) is a citizen of Spain who

resides in Barcelona and is otherwise sui juris. Arcori is transacting business in California,

Pennsylvania, Illinois, Virginia, the District of Columbia and nationwide over the internet and

actively soliciting business in California, Pennsylvania, Illinois, Virginia, the District of Columbia,




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and nationwide. Arcori’s Instagram handle is: @anastasiajadore.




Instagram post available at: https://www.instagram.com/p/ClUNKNkLnD4/

     38.       Defendant ABBY BAGLEY (“Bagley”) is a citizen of California who resides in

Los Angeles County and is otherwise sui juris. Bagley is transacting business in California,

Pennsylvania, Illinois, Virginia, the District of Columbia, and nationwide over the internet and

actively soliciting business in California, Pennsylvania, Illinois, Virginia, the District of Columbia

and nationwide. Bagley’s Instagram handle is @abbybagley.




     Instagram post above available at: https://www.instagram.com/p/CvDKfU4utTo

     39.       Defendant MANUELA BRIT (“Brit”) is a citizen of Florida who resides in Palm




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Beach County and is otherwise sui juris. Brit is transacting business in California, Pennsylvania,

Illinois, Virginia, the District of Columbia, and nationwide over the internet and actively soliciting

business in California, Pennsylvania, Illinois, Virginia, the District of Columbia, and nationwide.

Brit’s Instagram handle is @manuelabrit




Instagram post above available at: https://www.instagram.com/p/DAddaXmufYu/

      40.      Defendant TALA GOLZAR, (“Golzar”) is a citizen of California who resides in

Ventura County and is otherwise sui juris. Golzar is transacting business in California,

Pennsylvania, Illinois, Virginia, the District of Columbia, and nationwide over the internet and

actively soliciting business in California, Pennsylvania, Illinois, Virginia, the District of Columbia,

and nationwide. Golzar’s Instagram handle is @talagolzar




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     Instagram post available at: https://www.instagram.com/p/CmPQIiNvKuU

     41.       Defendant     ANASTASIA         KARANIKOLAOU             a/k/a   Anastasia     Lehane

Karanikolaou, (“Karanikolaou”), is a citizen of California who resides in Los Angeles County and

is otherwise sui juris. Karanikolaou is transacting business in California, Pennsylvania, Illinois,

Virginia, the District of Columbia and nationwide over the internet and actively soliciting business

in California, Pennsylvania, Illinois, Virginia, the District of Columbia and nationwide.

Karanikolaou’s Instagram handle is @staskaranikolaou




Instagram posts available at: https://www.instagram.com/p/C6rhEGjSaf2/
                              https://www.instagram.com/p/C6W0Sd_vfoo/

     42.       Defendant CYDNEY MOREAU (“Moreau”) is a citizen of Florida who resides in

Miami-Dade County and is otherwise sui juris. Moreau is transacting business in California,

Pennsylvania, Illinois, Virginia, the District of Columbia and nationwide over the internet and

actively soliciting business in California, Pennsylvania, Illinois, Virginia, the District of Columbia

and nationwide. Moreau’s Instagram handle is @cydrrose

     43.       Defendant CINDY PRADO (“Prado”) is a citizen of Florida who resides in Miami-

Dade County and is otherwise sui juris. Prado is transacting business in California, Illinois,

Pennsylvania, Virginia, the District of Columbia, and nationwide over the internet and actively




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soliciting business in California, Pennsylvania, Illinois, Virginia, the District of Columbia and

nationwide. Prado’s Instagram handle is @cindyprado.




                                    STATEMENT OF FACTS

      44.      Social media emerged in the last ten years as a main source of information and

communication1 for billions of internet users.

      45.      There were an estimated 159 million Instagram users in the United States in 2022 2.

      46.      In 2021 the platform engaged with over 2 billion monthly users 3.

      47.      In the last ten years, Instagram has become one of the most popular ways to

influence consumer behavior on social media.

      48.      Since 2017, Instagram has grown tremendously, adding 100 million users every




1
  Fink, T., 2021. Drivers of User Engagement in Influencer Branding. [S.l.]: Springer Fachmedien
Wiesbaden, p.2.
2
   Statista. 2021. Leading countries based on Instagram audience size as of October 2021:
http://www.statista.com/statistics/578364/countries-with-most-instagram-users/ (last visited Oct 28,
2022).
3
  Rodriguez, S., 2021. Instagram surpasses 2 billion monthly users while powering through a year of
turmoil, https://www.cnbc.com/2021/12/14/instagram-surpasses-2-billion-monthly-users.html (last
visited Oct 28, 2022).




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few months4. Around seven-in-ten Americans ages 18 to 29 (71%) say they use Instagram. 5

      49.      Given the enormous reach of the social media platforms, and in an effort to curb

online behavior that ignores the law and uses the lack of enforcement as an excuse for violating

laws across jurisdiction, the FTC has published guidelines for social media influencers regarding

proper advertising practices6.

      50.      The impact of social media influencers on our society is incredibly powerful. As

the World Health Organization raised questions this summer about the risks of a popular artificial

sweetener, a new hashtag began spreading on the social media accounts of health professionals:

#safetyofaspartame.7 Behind the hashtag was American Beverage, a trade and lobbying group

representing Coca-Cola, PepsiCo and other companies.

      51.      However, the rapid growth of social media platforms, including Instagram, allowed

for lack of regulation and oversight.

      52.      Some 80% of social media users said they were concerned about advertisers and

businesses accessing the data they share on social media platforms, and 64% said the government

should do more to regulate advertisers 8.

      53.      This is because some unscrupulous “influencers” are acting as advertisers for hire,



4
  Farhad Manjoo, Why Instagram Is Becoming Facebook’s Next Facebook The New York Times, April
26, 2017, https://www.nytimes.com/2017/04/26/technology/why-instagram-is-becoming-facebooks-
next-facebook.html (last visited Oct 28, 2022).
5
   Schaeffer, K., 2022. 7 Facts About Americans and Instagram. Pew Research Center.
https://pewrsr.ch/3FqryHE (last visited Feb 11, 2022).
6
  Federal Trade Commission. 2019. Disclosures 101 for Social Media Influencers. Available at:
https://www.ftc.gov/system/files/documents/plain-language/1001a-influencer-guide-508_1.pdf (last
visited Oct 28, 2022).
7
  O'Connor, Anahad, et al. "The food industry pays 'influencer' dietitians to shape your eating
habits." Washington Post, 16 Sept. 2023. (last visited Oct.1, 2024.)
8
  Raine, L., 2022. Americans’ complicated feelings about social media in an era of privacy concerns.
http://www.pewresearch.org/fact-tank/2018/03/27/americans-complicated-feelings-about-social-
media-in-an-era-of-privacy-concerns/ (last visited Feb. 15, 2022).




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making it a habit of posting fake reviews for sponsored products or failing to disclose the fact that

they were paid to use specific products in the content they create and display on their profile. As

such, they are endorsing products without disclosing the material connections with the advertiser.

These “influencers” advertise everything from alcohol to cannabinoids, from political ideas to

illegal giveaways, as long as they are paid the high prices they are demanding.

     54.       According to this business model, a number of carefully selected influencers will

pretend to use products from SHEIN brands and present this fact to their followers, effectively

endorsing such products, while being properly compensated, without disclosing any material

relationship with any SHEIN entity.

     55.       It is undisputed that endorsements (especially the undisclosed ones) increase sales

for the brand, as it is more likely a consumer will buy products that were referred to them, than

products that were advertised to them.

     56.       The marketing and sales strategy and the misleading claims above were developed

by SHEIN in California and implemented at the direction of its staff located in California. Also,

SHEIN warrants, and oversees regulatory compliance and product distribution from California.

     57.       Plaintiffs and Class Members purchase such products at artificially inflated prices,

exclusively because of the way the SHEIN products are advertised on social media and the

misleading content of the advertisement.

     58.       SHEIN brands its products under various names and promotes its products using

multiple social media accounts: @shein_us, @sheinofficial, @sheglam_official, @muserastore,

@romwe,       @luvlette,     @cuccoofootwear,            @glowmode_official,    @sheglam_official,

@motf_official, @emeryrose.official, @ jnsq__.

     59.       Amanda Bengoechea purchased products online from SHEIN in 2024 as a result of

the brand being endorsed by influencers, including Bianca Anastasia Arcori, Abby Bagley,

Manuela Brit, Tala Golzar, Anastasia Karanikolaou, Cydney Moreau, and Cindy Prado.




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     60.        Rachel Berkowitz purchased products online from SHEIN in 2022 as a result of the

brand being endorsed by influencers, including Brit Manuela, Abby Bagley and Bianca Anastasia

Arcori.

     61.        Shantel Hash purchased products online from SHEIN in 2023 as a result of the

brand being endorsed by influencers, including Brit Manuela, Abby Bagley and Bianca Anastasia

Arcori.

     62.        Rebekka Lien purchased products online from SHEIN in 2024 as a result of the

brand being endorsed by influencers, including Tala Golzar.

     63.        Diana Lopez purchased products online from SHEIN in 2024 as a result of the

brand being endorsed by influencers, including Bianca Anastasia Arcori and Abby Bagley.

     64.        Shaintiel Poole purchased products online from Shein in 2023 as a result of the

brand being endorsed by influencers including Cydney Moreau, Brit Manuela, Cindy Prado, Tala

Golzar, Abby Bagley and Bianca Anastasia Arcori.

     65.        Jully Romero purchased products online from SHEIN in 2024 as a result of the

brand being endorsed by influencers, including Brit Manuela and Cindy Prado.

     66.        Jennifer Simoni purchased products online from SHEIN in 2024 as a result of the

brand being endorsed by influencers, including Bianca Anastasia Arcori, Abby Bagley, Manuela

Brit, Tala Golzar, Anastasia Karanikolaou, Cydney Moreau, and Cindy Prado.

                                         THE INFLUENCERS

          67.   Despite being compensated for endorsing the brand by pretending to wear SHEIN

products, none of the Influencers use the “paid partnership” tag suggested by the FTC and

Instagram. Some of the Influencers provide a buried small disclosure so it would be almost

impossible for a social media user to discern the fact that the post was sponsored, including a long

hashtag in a list of hashtags that only appear if the reader decides to press the “More” button .

          68.   Therefore, the Influencers fail to be compliant with the FTC Act as interpreted by




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the FTC found at 16 C.F.R. § 255.5 and the FTC guidelines regarding advertising on social media. 9

          69.     In fact, many of the Influencers are familiar with the FTC guidelines and properly

display the required disclosures when the brands are not willing to pay for them to disguise the

advertising.




                                                                                     “Paid partnership”

                                                                                           “#ad”




Post available at: https://www.instagram.com/talagolzar/p/Cn7aaTEvP-x/

          70.     Plaintiffs are “following” all the Influencers on social media. Plaintiffs’ decision to

purchase SHEIN products and pay a premium for them was determined by the Influencers they

followed, specifically by the Defendants in this case, and the fact that they endorsed SHEIN

products.

          71.     Plaintiffs would not have purchased the products if they knew that the Influencers

were paid to pretend that they like SHEIN and endorse the brand, and that the Influencers’ claims

were unfair and misleading.

                                         THE ADVERTISING

          72.     Facebook, the parent company of Instagram, offers various products that

advertisers can use for commercial use. For example, an advertiser may promote content using a

boosted post or an Instagram ad for a price paid directly to Facebook. Both the post and the ad are



9
    Federal Trade Commission, supra note 7.




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created by the advertiser that wants to promote a certain message, service, or product. They are

clearly marked as advertising by Instagram.

        73.     The same advertisers can also promote content by directly paying influencers to

create a collaboration post. Influencers can also be paid for ads to be posted on the influencer’s

account, as part of the grid (the pictures and videos displayed for a user when accessing or

refreshing an account) or as part of stories (short videos that only show for a limited amount of

time and, usually, can only be viewed once). Such collaboration is usually properly disclosed.

        74.     Another way Instagram allows advertisers to use the platform is by sponsoring

independent content generated by the influencers themselves. In this case the influencer should

take advantage of the “paid partnership” tag offered by Instagram to show that influencer is being

compensated to generate this content. A “paid partnership” tag is also a step in maintaining

compliance with the Federal Trade Commission’s (“FTC”) rules and guidelines and the FTC

interpretation of the FTC Act.

        75.     Since, at times, Instagram algorithms may spot and remove posts where the “paid

partnership” tag is not present, Influencers and SHEIN are going to great lengths to hide the nature

of their partnership.

        76.     Every time an influencer advertises and endorses a product, such advertisement

may appear in the Instagram feed of the Instagram users following the particular influencer. Also,

at times, Instagram will “suggest” the post to users that are not following the influencer but have

similar interests.

        77.     The Influencers are also endorsing SHEIN products in their posts by tagging

SHEIN or the other brands under which SHEIN operates.

        78.     An “endorsement” is any “advertising message (including verbal statements,

demonstrations, or depictions of the name, signature, likeness or other identifying personal

characteristics of an individual or the name or seal of an organization) that consumers are likely to

believe reflects the opinions, beliefs, findings, or experiences of a party other than the sponsoring

advertiser. The party whose opinions, beliefs, findings, or experience the message appears to




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reflect will be called the endorser and may be an individual, group, or institution.” 16 C.F.R. §

255.0(b)

           79.     The FTC has repeatedly made public guidelines for influencers regarding proper

advertising practices, publishing a plain language interpretation of the FTC Act.

           80.     As interpreted by the FTC, “[c]ompanies that use deceptive endorsements and

reviews inflict an injurious double whammy. They harm consumers with misleading tactics that

subvert their choices at check-out. And they take business away from honest competitors that work

hard to comply with the law.”10

           81.     By advertising SHEIN products without regards to the disclosure requirements, the

Influencers are in violation of 15 U.S.C. § 45(a) and, as such, their actions are in violation of the

“little FTC Acts” enacted in Pennsylvania, Illinois and California.

           82.     By instructing and allowing the influencers to advertise its products without making

the proper disclosures, SHEIN is in violation of of 15 U.S.C. § 45(a) and therefore in violation of

the “little FTC Acts” enacted in Florida, Pennsylvania, Illinois and California.

                                                    SHEIN

           83.     SHEIN was started in China, and it was traditionally not involved in design and

manufacturing, but rather in selling cheap merchandise. SHEIN was acquiring its items from

Guangzhou's wholesale clothing market, a type of flea market 11.

           84.     SHEIN expanded internationally and made their products available in Spain,

France, Russia, Italy, and Germany in the early 2010s. At that time SHEIN started selling

cosmetics, shoes, purses, and jewelry, in addition to women's clothing.

           85.     However, in order to enter the U.S. market, SHEIN needed to be present on social




10
  Ritchie, J.N.& A. et al. (2023) FTC and endorsements: Final revised guides, a proposed new rule, and
an updated staff publication, FTC.gov. Available at: https://www.ftc.gov/business-
guidance/blog/2023/06/ftc-endorsements-final-revised-guides-proposed-new-rule-updated-staff-
publication (Accessed: 07 September 2023).
11
     See https://en.wikipedia.org/wiki/Shein (last visited Jan 31, 2025).



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media. Using social media platforms where regulation is scarce, most notably the Chinese-owned

TikTok, as well as Instagram, SHEIN, became especially popular among young women across the

globe. And while SHEIN is based out of China, it ships to 220 countries, with the U.S. serving today

as its largest consumer market12.

       86.     Among the ultra-fast fashion retailers, SHEIN is by far the largest enterprise with

more than 75% of U.S. market share in 2022. It also has a 50% share among the combined markets

of fast-fashion and ultra-fast fashion. It sells a wide variety of products, including men’s,

women’s, and children’s apparel, in the U.S. through its website, https://us.shein.com, and its

corresponding mobile app.

       87.     SHEIN does not have brick-and-mortar stores in the U.S. and relies exclusively on

online sales, most of which are generated by the undisclosed advertising on social media.

       88.     SHEIN is contracting with manufacturers and distributes products under several

brands it owns: SHEIN, Dazy, Emery Rose, SHEGLAM, MOTF, Cozy Club, Luvlette, JMMO,

JNSQ, Missguided, Musera, Romwe, Romwe Men, Cuccoo, and Glowmode.

       89.     SHEIN offers products on the ultra-fast fashion and the fast fashion markets, and

satisfies the demands of fashion’s younger, social-media trend driven consumer, who has a strong

preference for maximizing their ability to chase new trends on a tight budget.

       90.     SHEIN’s competition on the ultra fast-fashion market consists of other online-only

retailers like TEMU.

       91.     TEMU is consistently offering lower prices than Shein. An analysis of identical

products that were offered on both SHEIN and TEMU’s platforms showed that the prices on

TEMU were usually 10-40% less than those on SHEIN.

       92.     While TEMU is also using influencer marketing, it is a stark difference in the way

both companies work. TEMU, for example is asking the influencers to properly disclose the




12
  See https://www.vox.com/the-goods/22573682/shein-future-of-fast-fashion-explained (last visited Jan
31, 2025)



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material relationship with the brand by using the “Paid Partnership” label and comply with the

FTC interpretation of the FTC Act.




               Instagram post available at: https://www.instagram.com/p/ C4D_tpRv4k_/

       93.     On the other hand, SHEIN and the Influencers are hiding the “ad” hashtag at the

end of the post, where the user need to press “more” to see it, are hiding a partnership tag in

between many other hashtags, or are omitting altogether any reference of the fact that the

endorsement is not the Influencer’s honest opinion, but rather paid advertising.

       94.     The FTC states that the disclosure should be “difficult to miss.” Also, the disclosure

should identify who the sponsor of the post is 13. None of the disclosures are present in the

Influencer’s posts about SHEIN products.

       95.     Out of the considerable profits obtained by SHEIN from this scheme, part of the

money is paid to the Influencers for their indispensable role.

                                THE UNDISCLOSED ADVERTISING

       96.     While the practice employed by SHEIN and the Influencers is very profitable, it is,

nevertheless, illegal. Federal law, California law, Pennsylvania law, and Illinois law, all prohibit

such commercial behavior.

       97.     Plaintiffs saw SHEIN products being worn or used by the endorsing Instagram

influencers they followed which led to them purchasing SHEIN products, which proved to be of




13
   https://www.ftc.gov/enforcement/notices-penalty-offenses/penalty-offenses-concerning-endorsements
(last visited June 25, 2024)



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an inferior quality compared with the expectations the Plaintiffs had and the premiums they paid

for the SHEIN products.

       98.     By looking at the Instagram posts prior to making their purchases, Plaintiffs were

unable to discern the fact that those posts were paid posts, rather than organic, honest endorsements

by the Influencers.

       99.     But for the Influencers’ endorsement and the misleading advertising claims,

Plaintiffs and the Class Members would not have purchased SHEIN products.

       100.    In deciding to purchase SHEIN products, Plaintiffs and Class Members followed

what they believed to be the honest advice of the Influencers. None of the posts Plaintiffs saw

mentioned, as required, that the Influencers are nothing more than paid advertisers for the brand.

       101.    Sometimes Influencers will endorse SHEIN by simply tagging SHEIN in their

posts, suggesting that this is their choice for clothing, footwear and cosmetics.

      102.     Other times the Influencers will specifically indicate that the SHEIN products are

their favorite clothing, shoes, or their favorite makeup.

      103.     The Influencers often try to convince consumers to purchase SHEIN products, even

directing the consumer to go online and make purchases.

       104.    This undisclosed advertising has been prevalent on Instagram in the last few years.

Defendants are advertising SHEIN products on Instagram more than ten times, without mentioning

even once that they are paid (substantial amounts) to advertise SHEIN and keep it quiet.

                                        CLASS ALLEGATIONS

       105.    Plaintiffs incorporate by reference all previous paragraphs of this Complaint as if

fully re-written herein.

       106.    Plaintiffs assert the counts stated herein as class action claims pursuant to Fed. R.

Civ. P. 23.

       107.    Plaintiffs are filing this lawsuit on behalf of all persons that purchased SHEIN

products online relying on misleading marketing practices and Influencers from June 24, 2019, to

present (“Class Period”).




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     108.        Plaintiffs Lopez, Berkowitz, Romero, Lien, Poole, are citizens of California and

seek to represent four classes composed of and defined as follows:

       a.        Nationwide Class: All consumers that purchased SHEIN products in the United

       States.

       b.        California Subclass: All California residents that purchased SHEIN Products.

       c.        Virginia Subclass: All Virginia residents that purchased SHEIN Products.

       d.        D.C. Subclass: All residents of the District of Columbia that purchased SHEIN

       Products.

     109.        Plaintiff Simoni seeks to represent three classes composed of and defined as

follows:

       a.        Nationwide Class: All consumers that purchased SHEIN products in the United

       States (same as above).

       b.        Illinois Subclass: All Illinois residents that that purchased SHEIN products.

       c.        D.C. Subclass: All residents of the District of Columbia that purchased SHEIN

       Products.

     110.        Plaintiff Hash seeks to represent three classes composed of and defined as follows:

       a.        Nationwide Class: All consumers that purchased SHEIN products in the United

       States (same as above).

       b.        Pennsylvania Subclass: All Pennsylvania residents that that purchased SHEIN

       products.

       c.        D.C. Subclass: All residents of the District of Columbia that purchased SHEIN

       Products.

     111.        Collectively the members of the Nationwide Class and all Subclasses shall be

referred to as “Class Members”

     112.        The classes exclude counsel representing the class, governmental entities,

Defendant, any entity in which Defendant has a controlling interest, Defendant’s officers,

directors, affiliates, legal representatives, employees, co-conspirators, successors, subsidiaries,




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and assigns, any judicial officer presiding over this matter, the members of their immediate

families and judicial staff, and any individual whose interests are antagonistic to other putative

class members.

      113.       Plaintiffs reserve the right to amend or modify the class descriptions with greater

particularity or further division into subclasses or limited to particular issues.

      114.       This action has been brought and may properly be maintained as a class action

under Federal Rule of Civil Procedure 23 (“Rule 23”) because it is a well-defined community of

interest in the litigation and the class is readily and easily ascertainable.

      115.       Numerosity: At least one million consumers have been injured by Defendants’

deceptive marketing practices, including Plaintiffs.         At least one million consumers have

purchased SHEIN products and paid a premium for it in reliance on the Defendants’

representations.

      116.       Each of the classes represented by Lopez, Berkowitz, Romero, Lien, Poole, Simoni

and Hash have at least one million members and the joinder of all members is impracticable.

      117.       Typicality: Plaintiffs’ story and their claims are typical for the class and, as the

named Plaintiffs, they are aware of other persons in the same situation. Plaintiffs and the members

of each class sustained damages arising out of Defendants’ illegal course of business.

        118.     Commonality: Since the whole class purchased SHEIN products and such products

are promoted by the Defendants, the questions of law and fact are common to the class.

        119.     Adequacy: Lopez, Berkowitz, Romero, Lien, Poole, Simoni and Hash will fairly

and adequately protect the interests of each class they represent.

        120.     Superiority: As questions of law and fact that are common to class members

predominate over any questions affecting only individual members, a class action is superior to

other available methods for fairly and efficiently adjudicating this controversy.

        121.     Plaintiffs will fairly and adequately represent and protect the interests of the class.

Plaintiffs’ Counsel and for the putative class members are experienced and competent in litigating

class actions.




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                                  VIOLATIONS OF 15 U.S.C. § 45(a)
                                (not pled as an independent cause of action)

        122.    By failing to disclose their material connection with the brand, the Influencers are

in violation of 15 U.S.C. § 45(a).

        123.    By failing to mandate and enforce disclosure of material connections with the

Influencers, SHEIN is in violation of 15 U.S.C. § 45(a).

        124.    The FTC interprets 15 U.S.C. § 45(a) stating that any material connection should

be “clearly and consciously disclosed,” and that failure to disclose material connections could

subject both the influencers and the advertisers to civil penalties 14.

        125.    The violations of the 15 U.S.C. § 45(a) are not pled as an independent cause of

action, but as an element of one or more of the causes of action detailed in this Complaint.

                                      CAUSES OF ACTION

 COUNT I: VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE
                          TRADE PRACTICES ACT
               (On behalf of Plaintiff Simoni and Illinois Subclass)

        126.    Plaintiff incorporates by reference paragraphs 1-125 of this Complaint as if fully

re-written herein. Simoni asserts this count on her own behalf and on behalf of the Illinois Subclass,

as defined above, pursuant to Fed. R. Civ. P. 23.

        127.    The Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”), 815

ILCS §§ 505/1, et seq., provides protection to consumers by mandating fair competition in

commercial markets for goods and services.

        128.    The ICFA prohibits any deceptive, unlawful, unfair, or fraudulent business acts or

practices including using deception, fraud, false pretenses, false promises, false advertising,

misrepresentation, or the concealment, suppression, or omission of any material fact, or the use or




14
  https://www.ftc.gov/system/files/attachments/penalty-offenses-concerning-endorsements/
npo_endorsement_template_letter.pdf (last visited June 25, 2024)




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employment of any practice described in Section 2 of the “Uniform Deceptive Trade Practices

Act”. 815 ILCS § 505/2.

       129.    The ICFA applies to Defendants’ acts as described herein because it applies to

transactions involving the sale of goods or services to consumers.

       130.    Defendant is a “person” as defined by section 505/1(c) of the ICFA.

       131.    Plaintiff and each member of the Class are “consumers” as defined by section

505/1(e) of the ICFA.

       132.    The SHEIN products sold online constitutes “merchandise” under the meaning of

section 505/1(b) and its sale is within the meaning of “trade” or “commerce” under the ICFA.

       133.    Defendants’ misrepresentations and omissions regarding the endorsements

obtained by SHEIN are deceptive and unfair acts and practices prohibited by Chapter 2 of ICFA.

       134.    Defendants are also in violation of Section 5(a) of 15 U.S.C. § 45(a), which should

be considered as a violation of 815 ILL. COMP. STAT. ANN. 505/2

       135.    Defendants violated the ICFA when it misrepresented facts regarding SHEIN

products. Accordingly, the misrepresentations were the central reason for consumers chose to

purchase SHEIN products over other alternatives, and to pay a premium for it.

       136.    Plaintiff and Class Members relied upon Defendants’ misrepresentations and

omissions when they SHEIN products.

       137.    If Plaintiff and Class Members had been aware of the true characteristics of the

SHEIN products, or the fact that the Influencers are not honest consumers but that they are paid to

promote SHEIN, they would not have purchased it.

       138.    Defendants also violated section 510/2(a)(5) of the DTPA by representing that

SHEIN products have characteristics that don’t have. Apart from selling products that one may

consider toxic, SHEIN is one of the main contributor to clothes ending up in landfill.

       139.    Plaintiff and Class Members saw Defendants’ marketing and online advertising

materials prior to purchasing SHEIN products, and they reasonably relied on Defendant’s

misrepresentations and omissions when they purchased SHEIN products.




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       140.      Defendants’ misrepresentations and omissions regarding SHEIN products were

acts likely to mislead the Plaintiff and Class Members acting reasonably under the circumstances,

and thus constitute unfair and deceptive trade practices in violation of ICFA.

       141.      As a direct and proximate result of Defendant’s violation of the ICFA, Plaintiff and

the Class Members have suffered harm in the form of monies paid in exchange for the SHEIN

products they purchased because they paid more than what they would have otherwise paid had

they know the true nature of the product.

       142.      The value of the loss, calculated as the price paid for a SHEIN product less the

value of the products is of $5,000,000 for the entire Illinois Subclass.

       143.      Defendants’ practices set forth herein offend public policy, were and are immoral,

unethical, oppressive, and unscrupulous, and cause substantial injury to consumers.

    COUNT II: VIOLATIONS OF THE ILLINOIS UNIFORM DECEPTIVE TRADE
                                PRACTICES ACT
                (On behalf of Plaintiff Simoni and Illinois Subclass)

       144.      Plaintiff incorporates by reference paragraphs 1-125 of this Complaint as if fully

re-written herein. Simoni asserts this count on her own behalf and on behalf of the Illinois Subclass,

as defined above.

       145.      At all times relevant hereto, there was in full force and effect the Illinois Uniform

Deceptive Practices Act, 815 ILCS 510/1, et seq. (“DTPA”).

       146.      Furthermore, Defendants represent that SHEIN products have endorsements that it

does not have.

       147.      Defendants advertises SHEIN products with the intent not to sell them as advertised

by using the false and misleading advertising and marketing detailed above.

       148.      Defendants’ false and misleading statements set forth above were made knowingly

and intentionally, with the intent to mislead the named Plaintiffs and the Class.

       149.      Accordingly, Defendants have violated the DTPA.

 COUNT III: VIOLATION OF THE CONSUMERS LEGAL REMEDY ACT. CAL. CIV.
                         CODE. §§ 1750, ET SEQ.




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           (On behalf of all Plaintiffs, the Nationwide Class and California Subclass)

        150.    Plaintiffs incorporate by reference paragraphs 1-125 of this Complaint as if fully

re-written herein. Plaintiffs assert this count on their own behalf and on behalf of the Nationwide

Class, as defined above.

        151.    The conduct that forms the basis of this action arose in California, the state in which

SHEIN has its U.S. headquarters and principal place of operations in the U.S.

        152.    Defendants developed, designed, and implemented policies and procedures at issue

in this case in California.

        153.    Defendants are each a "person" within the statutory meaning of Cal. Civ. Code §

176l(c).

        154.    Defendants provided "goods" within the meaning of Cal. Civ. Code §§ 1761(a),

1770.

        155.    Plaintiffs and Class Members of the Nationwide Class are "consumers" within the

meaning of Cal. Civ. Code §§ l76l(d), 1770, and have engaged in a "transaction" within the

meaning of Cal. Civ. Code §§ 1761(e), 1770.

        156.    As set forth herein, Defendants’ acts and practices, undertaken in transactions

violate §1770 of the Consumers Legal Remedies Act in that:

                a.      Defendants misrepresented the source, sponsorship, approval, or

        certification of the goods or services.

                b.      Defendants misrepresented the affiliation, connection, or association with,

        or certification by another.

                c.      Defendants represented that the goods or services have approval,

        characteristics, ingredients, uses, benefits, or quantities that they do not have or that a

        person has a sponsorship, approval, status, affiliation, or connection that the person does

        not have; and

                d.      Defendants advertised goods or services with intent not to sell them as




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       advertised;

       157.    Pursuant to the provision of Cal. Civ. Code §1780, Plaintiffs seek an order

enjoining Defendants from the unlawful practices described herein, a declaration that Defendants’

conduct violates the Consumers Legal Remedies Act, and attorneys' fees and costs of litigation.

COUNT IV: VIOLATIONS OF CALIFORNIA’S UNLAWFUL BUSINESS PRACTICES
                ACT, CAL. BUS. & PROF. CODE § 17200. ET. SEQ
    (On behalf of All Plaintiffs, the Nationwide Class and the California Subclass)

       158.    Plaintiffs incorporate by reference paragraphs 1-125 of this Complaint as if fully

re-written herein. Plaintiffs assert this count on their own behalf and on behalf of the Nationwide

Class, as defined above, and pursuant to Rule 23.

       159.    The conduct that forms the basis of this action arose in California, the state in which

SHEIN has its U.S. headquarters and principal place of operations in the U.S. Defendants

developed, designed, and implemented policies and procedures at issue in this case in California.

                                 Unfair And Fraudulent Competition

       160.    Defendants has engaged in unfair competition within the meaning of Cal. Bus. &

Prof. Code §§17200, et seq., because Defendants’ conduct is unlawful, unfair, and/or fraudulent,

as herein alleged.

       161.    Plaintiffs, the class members, and Defendants are each a "person" or "persons"

within the meaning of § 17201 of the California Unfair Competition Law ("UCL").

       162.    Defendants promoted and advertised SHEIN products without properly disclosing

their financial interest and such acts and practices constitute deceptive acts or practices in

violation of Section 5(a) of 15 U.S.C. § 45(a).

       163.    A violation of Section 5(a) of 15 U.S.C. § 45(a) represents a per se violation of

the California Unfair Competition Law ("UCL").

                                         Unlawful Competition

       164.    The UCL is, by its express terms, a cumulative remedy, such that remedies under

its provisions can be awarded in addition to those provided under separate statutory schemes




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and/or common law remedies. Plaintiffs hereby incorporate by reference all prior causes of

action into this cause of action.

                                     Violations of Advertising Law

       165.    By making statements that are not true and statements that are misleading,

Defendants are in violation of California False Advertising Law, Cal. Civ. Code. §§ 17500, ET

SEQ.

       166.    “‘[A]ny violation of the false advertising law . . . necessarily violates the UCL.’”

(Kasky, supra, 27 Cal.4th at p. 950.) Section 17500 “proscribe[s] ‘“not only advertising which is

false, but also advertising which[,] although true, is either actually misleading or which has a

capacity, likelihood or tendency to deceive or confuse the public.”’ [Citation.]” (Colgan v.

Leatherman Tool Group, Inc. (2006) 135 Cal.App.4th 663, 679.)

       167.    Plaintiffs, the Nationwide Class Members and the California Subclass Members

request that this Court enter such orders or judgments as may be necessary to enjoin Defendant

from continuing its unfair, unlawful, and/or deceptive practices and to restore to Plaintiffs and

Class Members any monies Defendant acquired by unfair competition, including restitution

and/or equitable relief, including disgorgement or ill-gotten gains, refunds of monies, interest,

reasonable attorneys' fees, and the costs of prosecuting this class action, as well as any and all

other relief that may be available at law or equity.

       168.    Plaintiffs and Class Members seek attorneys’ fees and costs pursuant to Cal.

Code Civ. Proc. § 1021.5.

                COUNT V: VIOLATIONS OF PENNSYLVANIA UNFAIR TRADE
                     PRACTICES AND CONSUMER PROTECTION LAW
                                     73 P.S. §§201-1 - 201-9.2
                   (On behalf of Plaintiff Hash and the Pennsylvania Subclass)

       169.    Plaintiff incorporates by reference paragraphs 1-125 of this Complaint as if fully

re-written herein. Hash asserts this count on her own behalf and on behalf of the Pennsylvania

Subclass, as defined above.

       170.    At all times relevant hereto, there was in full force and effect the Pennsylvania




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Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§201-1 - 201-9.2 (“UTPCPL”).

       171.    The Law defines “Unfair methods of competition” and “unfair or deceptive acts or

practices” to mean: “(iii) Causing likelihood of confusion or of misunderstanding as to affiliation,

connection or association with, or certification by, another.” 73 P.S. §201-2(4)(iii).

       172.    Defendants’ false and misleading statements set forth above were made knowingly

and intentionally, with the intent to mislead the named Plaintiff and the Subclass as to the

connection between the Influencer promoting the SHEIN products and the brand.

       173.    Accordingly, Defendants have violated the UTPCPL.

       174.    Plaintiff and Class Members seek damages of $100 per occurrence, treble damages

and attorneys’ fees and costs 73 Pa. Stat. § 201-9.2.

         COUNT VI: VIOLATIONS OF VIRGINIA CONSUMER PROTECTION ACT
                                  Va. Code Ann. § 59.1-196 et seq.
         (On behalf of Plaintiffs Lopez, Berkowitz, Romero, Lien, Poole, and the Virginia
                                          Subclass)

       175.    Plaintiff incorporates by reference paragraphs 1-125 of this Complaint as if fully

re-written herein. Hash asserts this count on her own behalf and on behalf of the Pennsylvania

Subclass, as defined above.

       176.    At all times relevant hereto, there was in full force and effect the Virginia Consumer

Protection Act, Va. Code Ann. § 59.1-196 et seq. (“VPL”).

       177.    The Law declares as unlawful “Misrepresenting the affiliation, connection, or

association of the supplier, or of the goods or services, with another.” VPL, § 59.1-200.3.

       178.    Defendants’ false and misleading statements set forth above were made knowingly

and intentionally, with the intent to mislead the named Plaintiff and the Subclass as to the

connection between the Influencer promoting the SHEIN products and the brand.

       179.    Accordingly, Defendants have violated the VPL.

       180.    Plaintiffs and Class Members seek actual damages, statutory and treble damages in

accordance with the VPL.

                      COUNT VII: VIOLATIONS OF DISTRICT OF COLUMBIA’S




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                         CONSUMER PROTECTION PROCEDURES ACT
                                 DC Official Code §§ 28-3901 to 28-3913.
                          (On behalf of all Plaintiffs and the D.C. Subclass)

       181.    Plaintiff incorporates by reference paragraphs 1-125 of this Complaint as if fully

re-written herein. Hash asserts this count on her own behalf and on behalf of the Pennsylvania

Subclass, as defined above.

       182.    At all times relevant hereto, there was in full force and effect Chapter 39 of Title

28 of the D.C. Code, also known as the Consumer Protection Procedures Act or “CPPA.”

       183.    CPPA gives “due consideration and weight” to the Federal Trade Commission or

FTC, as well as legal precedent.

       184.    As Defendants are in violation of the 15 U.S.C. § 45(a), Defendants are in violation

of the CPPA.

       185.    Plaintiffs and Class Members seek actual damages, statutory and treble damages in

accordance with the CPPA.

                              COUNT VIII: UNJUST ENRICHMENT
          (On behalf of All Plaintiffs, the Illinois, Pennsylvania and California Subclasses)

       186.    Plaintiffs incorporate by reference paragraphs 1-125 of this Complaint as if fully

rewritten herein. As set forth above, Plaintiffs assert this count on their own behalf and on behalf

of all other similarly situated Instagram users.

       187.    By paying the high prices demanded by SHEIN, Plaintiffs and Class Members

conferred a direct benefit to all the Defendants.

       188.    Instagram users that are members of the class continue to suffer injuries as a result

of the Defendants’ behavior. If the Defendants do not compensate the Plaintiffs, they would be

unjustly enriched as a result of their unlawful act or practices.

                 Unjust Enrichment under Illinois law (on behalf of Illinois subclass)

       189.    It is an equitable principle that no one should be allowed to profit from his own

wrong, therefore it would be inequitable for the Defendants to retain said benefit, reap unjust




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enrichment.

        190.     Here, the defendants have unjustly retained a benefit to the plaintiffs’ detriment,

and that the defendant’s retention of that benefit violates fundamental principles of justice, equity,

and good conscience

             Unjust Enrichment under Pennsylvania law (on behalf of Pennsylvania subclass)

        191.     Here, Plaintiffs conferred benefits upon the Defendants; Defendants realized those

benefits; and Defendants accepted and retained the benefits under circumstances in which it would

be inequitable for it to retain them without payment of value.

        192.     Since the Defendants unjustly enriched themselves at the expense of the Instagram

users, members of the Pennsylvania Subclass, the Plaintiffs request the disgorgement of these ill-

gotten money.

        Unjust Enrichment under California law (on behalf of California subclass)

        193.     In this case, Defendants received a benefit at Plaintiffs’ expense, and it would be

unfair for Defendant to keep the benefit without compensating a proportionate amount to the

Plaintiff.

        194.     Due to Defendants’ conduct, Plaintiffs and the Class Members are entitled to

damages according to proof.

                          COUNT IX: NEGLIGENT MISREPRESENTATION
                          (On behalf of All Plaintiffs and the Nationwide Class)

        195.     Plaintiffs incorporate by reference all paragraphs 1-125 of this Complaint as if fully

rewritten herein. As set forth above, the Plaintiffs assert this count on their own behalf and on

behalf of all other similarly situated persons pursuant to Rule 23.

        196.     Defendants had a duty to be truthful in their commercial speech. In convincing the

Plaintiffs to purchase SHIEN products, the Defendants made representations that they knew to be

false, or negligently failed to examine the veracity of the affirmations.

        197.     As a result of Defendants’ negligent misrepresentations, Plaintiffs and the

Nationwide Class Members suffered injury.




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                                     DEMAND FOR JURY TRIAL

        198.    Plaintiffs and those similarly situated Class Members demand a trial by jury for all

issues so triable.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, Jennifer Simoni, Jully Romero, Rebekka Lien, Rachel

Berkowitz, Shantiel Poole, Shantel Hash, and Diana Lopez, respectfully request that judgment be

entered in their favor and in favor of the Class Members as follows:

        a.      Certifying and maintaining this action as a class action, with the named Plaintiffs

as designated class representatives and with their counsel appointed as class counsel;

        b.      Declaring the Defendants in violation of each of the counts set forth above;

        c.      Awarding the Plaintiffs and those similarly situated compensatory, punitive, and

treble damages in excess of $50,000,000;

        d.      Awarding the Plaintiffs and those similarly situated liquidated damages;

        e.      Order the disgorgement of ill-gotten monies;

        f.      Awarding each of the named Plaintiffs a service award;

        g.      Awarding pre-judgment, post-judgment, and statutory interest;

        h.      Awarding attorneys’ fees and costs;

        i.      Awarding such other and further relief as the Court may deem just and proper.

                                     JURY TRIAL DEMAND

        Plaintiffs hereby demand a jury trial of the claims asserted in this Class Action Complaint.


Dated: February 10, 2025                      Respectfully submitted,

                                              /s/ Keith L. Gibson
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